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                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII


PACIFIC COMMERCIAL SERVICES,                  Civ. No. 16-00245 JMS-KJM
LLC, a Hawaii limited liability
company,                                      ORDER AWARDING
                                              PREJUDGMENT INTEREST,
                   Plaintiff,                 DIRECTING ENTRY OF
                                              JUDGMENT, AND ADDRESSING
      vs.                                     MOTION FOR
                                              RECONSIDERATION
LVI ENVIRONMENTAL SERVICES,
INC., nka NORTHSTAR
CONTRACTING GROUP, INC., ET
AL.,

                   Defendants.


 ORDER AWARDING PREJUDGMENT INTEREST, DIRECTING ENTRY
        OF JUDGMENT, AND ADDRESSING MOTION FOR
                  RECONSIDERATION

             On August 10, 2018, the court entered Findings of Fact and

Conclusions of Law, awarding Plaintiff $767,053.14 plus additional prejudgment

interest as of August 10, 2018. ECF No. 170. Judgment was delayed to allow

Plaintiff to establish the exact amount of prejudgment interest. On August 23,

2018, Plaintiff submitted a supplemental brief, ECF No. 171, which establishes a

total amount of prejudgment interest of $354,929.48. Accordingly, Judgment in

the amount of $1,121,982.62 shall enter in favor of Plaintiff.

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              The court recognizes that, on August 27, 2018, Defendants filed a

Motion for Reconsideration of Findings of Fact and Conclusions of Law, ECF No.

172. Given that this Order establishes the amount of prejudgment interest and

directs entry of judgment, however, the court construes the Motion for

Reconsideration as a timely-filed Motion under Federal Rule of Civil Procedure

52(b) and/or 59(e) to amend the Findings and Conclusions and modify the

Judgment. See, e.g., Calculators Haw., Inc. v. Brandt, Inc., 724 F.2d 1332, 1334-

35 (9th Cir. 1983) (concluding that a Rule 52(b) motion made after a court

indicates the action it will take but before actual entry of judgment is timely).

Such a motion acts to toll the time for seeking an appeal from judgment. See, e.g.,

Fed. R. App. P. 4(a)(4)(A); United States v. Nutri-cology, Inc., 982 F.2d 394, 396

(9th Cir. 1992).1

              So construed, Plaintiff’s Opposition is due by September 14, 2018.

Defendants may file a Reply by September 28, 2018. The court will determine

whether to hold a hearing after reviewing the Opposition and Reply.

              In the Opposition and Reply for the Rule 52(b)/59(e) Motion, the

parties need not argue one of the points raised by Defendants. Specifically,

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           The standard of review applicable to a Motion for Reconsideration under Local Rule
60.1, and a Rule 52(b)/Rule 59(e) Motion is essentially the same. See, e.g., Barranco v. 3D Sys.
Corp., 2018 WL 3833499, at *2-3 (D. Haw. Aug. 13, 2018) (discussing clear error or manifest
injustice for both Rule 60.1 and a Rule 52(b)/59(e) motions).

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Defendants argue that Plaintiff should not be deemed a prevailing party for

purposes of attorney’s fees and costs because of “the prevailing common law rule

regarding split decisions,” ECF No. 172 at 2, where Defendants earlier prevailed

on Count Five. The court rejects this argument — whether Plaintiff prevailed on

four of five counts, but lost on the other, might affect the extent of success and/or

the reasonableness of the amount of fees or non-taxable expenses, but does not in

this particular case preclude Plaintiff from being deemed a prevailing party. In any

event, Defendants may make this argument in their Opposition to any subsequent

motion or petition Plaintiff may file seeking attorney’s fees and non-taxable

expenses.

             To be clear, the further briefing on the Rule 52(b)/59(e) Motion

should focus on Defendants’ other two arguments, i.e., whether the HECO

Subcontract was partially terminated, and whether Plaintiff is entitled to

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prejudgment interest (but not the mathematical calculations in the Findings and

Conclusions).

              IT IS SO ORDERED.

              DATED, Honolulu, Hawaii, August 31, 2018.



                                                  /s/ J. Michael Seabright
                                                 J. Michael Seabright
                                                 Chief United States District Judge




Pac. Commercial Servs., LLC v. LVI Envt’l Servs, Inc., Civ. No. 16-00245 JMS-KJM, Order
Awarding Prejudgment Interest, Directing Entry Of Judgment, And Addressing Motion For
Reconsideration


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